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                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


TEXAS LEAGUE OF UNITED LATIN
                                                                                FILED
AMERICAN CITIZENS,                             :                                  JAN    29   2O1

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                                                                           CLERK, U.S.
and                                                                        WESTERN  DISTR,            EXAS
                                                                                         DEPUTY
NATIONAL LEAGUE OF UNITED
LATIN AMERICAN CITIZENS


                                                   S Al 9 C A 0074
      Plaintiffs,

                                                                                                    FB
DAVID WHITLEY, in his official
capacity as Texas Secretary of State,

and

KEN PAXTON, in his official
capacity as Attorney General
of Texas,

      Defendants.



                                    ORIGINAL COMPLAINT

      Plaintiffs, by and through undersigned counsel, allege as follows:

Preamble: Nature of action

      1.   This is a lawsuit under Section 11(b) of the Voting Rights Act, challenging the corn-

bined effort of the Secretary of State of Texas and the Attorney General of Texas to intimidate

people who are currently legitimately registered to vote into dc-registering or just not voting (or

both) in the upcoming May 2019 election. These two Texas officials have carefully crafted and

orchestrated a program that combines an election advisory ostensibly directed at ensuring that all
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those registered to vote in the May election are citizens eligible to vote with the use of data that

is suspect on its face and a blackout on public access to the data. Through this approach, they

control public access and public media information in such a way as to inform the voting corn-

munity that they really are targeting, as suspect, participants in the State's election system who

should fear such participation. It is, in short, a plan carefully calibrated to intimidate legitimate

registered voters from continuing to participate in the election process and to enlist the broader

public into joining the two officials in concentrated pressure against such continued participa-

tion. Full-fledged United States citizens, legally participating in Texas's election system, particu-

larly those who are part of the Latino community across the State, are being illegally targeted for

voter intimidation. This lawsuit seeks to stop such intimidation. The pretextual facade of concern

about voter fraud provides no cover for the voter intimidation at work here.

Jurisdiction and venue
    2.    This Court has original jurisdiction pursuant to 28 U.S.C.       § § 1331   and 1343 (a)(3).

Plaintiffs seek declaratory and injunctive relief pursuant to 28 U.S.C.   §   2201 and 2202, as well

as 52 U.S.C. § 10307 and 10308.

    3.    Venue is proper in this Court pursuant to 28 U.S.C.       §   124(d)(4) and 1391(b). De-

fendants have their official place of government business in Austin, Texas.

Parties

    Plaint

    4.    Plaintiff League of United Latin American CitizensNational (LULAC) is the oldest

and largest national Latino civil rights organization in the United States. It is a non-profit organi-

zation with a presence in most of the fifty states including Texas. LULAC was founded in Texas

with over 125,000 members nationwide and over 20,000 in Texas, on the principle of protecting



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the rights of Latinos in civil rights including voting rights. LULAC participates in voter registra-

tion throughout the United States and throughout Texas

      LULAC has been recognized and accepted as an organizational plaintiff protecting Latino

rights in every federal court in which it has participated, including the United States Supreme

Court and the Western District of Texas.

     5. Plaintiff Texas League    of United Latin American Citizens (Texas LULAC) was found-

ed in Texas in 1929. It has over 20,000 members in Texas, and over 1,000 members in Bexar

County. Its principal purpose is to protect the civil rights of Latinos, including their voting rights.

Texas LULAC participates in voter registration throughout Texas, including all parts of the

Western District of Texas.

      Texas LULAC has been recognized and accepted as an organizational plaintiff protecting

Latino rights in every federal court in which it has participated, including the United States Su-

preme Court and the Western District of Texas.

    Defrndants

    6.   David Whitley is the Texas Secretary of State, sued here in his official capacity

only. He is designated as the State's chief elections officer. It is purportedly in that capac-

ity that he undertook the actions here complained of.

    7.   Ken Paxton is the Texas Attorney General, sued here in his official capacity only.

In his capacity as Attorney General, he undertook the actions here complained of.

Factual background

    8.   May 4, 2019, is the next general election day for local Texas elections. The election cy-

cle is well underway. Candidate filing opened on January 16, 2019. In-person early voting begins

on April 22, 2019. The last day to register to vote for that election is April 4, 2019.



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    9.   On Friday, January 25, 2019, the Texas Secretary of State issued what his office

termed "Election Advisory No. 20 19-02" to voter registrars and elections administrators in

the counties across the State. A copy of the memo is Attachment A to this complaint. It will

sometimes be referred to in this complaint as SOS Advisory 20 19-02.

    10. The Secretary   of State had already turned the data discussed in the advisory to the

Attorney General, who tweeted the following shortly after noon on the same day as issuance

of the SOS advisory (emphases added):

    VOTER FRAUD ALERT: The @TXsecofstate discovered approx 95,000 individ-
    uals identified by DPS as non-U.S. citizens have a matching voter registration record
    in TX, approx 58,000 of whom have voted in TX elections. Any illegal vote de-
    prives Americans of their voice.

Still on that same day, the Attorney General posted a four-paragraph press notice online at

https ://www.texasattorneygeneral. gov/news/releases/ag-paxton-texas-secretary-states-office-

discovers-nearly-95 000-people-identified-dps-non-us-citizens. It sprinkles the word "fraud"

prominently into the notice seven times, accompanying it with references to "illegal voting,"

"crimes against the democratic process," and "election crimes."

    11. The Advisory outlines what it says was a program started in March 2018 between

SOS and the Texas Department of Public Safety (DPS) whereby the SOS would use DPS

drivers license and personal identification card data in connection with SOS work on

"maintenance" of the State's voter registration rolls. According to SOS (with emphasis add-

ed), it would extract from the DPS data and documentation a list of "individuals who provid-

ed valid documents indicating the person is not a citizen of the United States at the time the

person obtained" a driver license or personal ID card from DPS.

    12. Nowhere in the advisory, the AG press release, or the AG tweet is there any descrip-

tion or identification of the time period covered by the DPS data it said it was using. Pub-

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lished reports since the advisory became public indicate that the DPS data goes back 23

years, at least as far as 1996. The Advisory chose to use the term "DPS non-U.S. Citizen da-

ta" to refer to the data set.

     13.    The Advisory indicated that the SOS's plan was to take this mass of DPS data and

match it against "the TEAM system," which is Texas's computerized, centralized statewide

voter registration list. ("TEAM" stands for "Texas Election Administration Management.").

Then, said the advisory, the SOS plan was to take any "matches" between the DPS data and a

registered voter in any given Texas county, collect them by county, and send the information

to the local voter registrars and election administrators.

     14. Neither the SOS nor the AG made any          of the underlying data publicly available at
the time of their orchestrated press barrage on January 25th. This, despite the fact that the ap-

parent key to the process was using DPS data that goes back nearly a quarter-century and

"matching" it against   current   voter registration data. This meant that, using the data-blackout

approach in a highly suspect context, the SOS and the AG could publicly state whatever they

wished without fear of contradiction on any specifics, since all of the specifics were tightly

held by them and not made available to either the public generally or even to the local voter

registrars and election administrators. Among other things (and even setting aside the false-

positives that even the state officials must concede is ever present in these situations), this

"matching" process fails to take into account a major factor that throws reliance on the old

DPS data particularly suspect: the naturalization process, whereby those who came to the

United States as non-citizens may later attain citizenship. According to the Migration Policy

Institute, in Texas alone in fiscal year 2014, nearly 53,000 people became citizens through

the naturalization process. If each of those people had applied to DPS for a driver license or



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personal ID card before 2014 (even going back to 1996), and registered to vote   after   naturali-

zation (which would be expected in most instances), they would still show up in the SOS

"matching" even though they are fully legitimate registered voters. Over just the 2007-20 17

decade, 7.5 million people became naturalized citizens, and it is certain that people in Texas

are a relatively large percentage of that number. And recently, with the advent of a national

administration avowedly hostile to immigration of any sort, the number of those in America

seeking naturalization has skyrocketed, increasing by 87% over the number in the previous

Presidential administration. The SOS-AG "matching" gambit simply ignores this huge factor

that on its surface shows how misguided and inaccurate the touted program is.

    15. The advisory said that the matching process had not been completed at the time      of its
issuance and of the the AG's press release and tweet. This, though, served as no impediment

to the AG, who nonetheless included as part of his press release a headline that the SOS had

discovered "nearly 95,000 people" as non-U.S. citizens registered to vote in the State. He re-

peated this assertion in the release's opening paragraph, adding the statement that "roughly

58,000 of them" have voted in at least one Texas election. These numbers and assertions

were widely reported in the Texas press, as the SOS and AG certainly expected and planned.

    16. Since Friday, January 25th, the SOS has completed its internal matching program for

at least some Texas counties, including in particular Bexar County. It forwarded the infor-

mation to the Bexar County Election Administrator on Monday, January 2 8th.

    17.    Even now, the data blackout continues. The SOS has issued written instructions

to the local registrars and election administrators that none of the data may be made

public.
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    18. When combined with the assignment         of responsibilities for what to do with the data

and the "matching" performed by the SOS, the process is an openly cynical effort to put the

local registrars and election administrators in a difficult-to-impossible situation. The SOS ad-

visory acknowledges that, even its own hidden system for performing the "matches," pro-

vides only a "weak" match. And it acknowledges that the duty for what to do with the hidden

SOS methodology and data rests with the local officials upon whom it has been dumped, not

on the SOS. And it even acknowledges that the local registrars and election administrators

have it within their power and authority to take no action whatever on the SOS-provided

"matches" and "simply close the task as RESOLVED." But the SOS accompanies those nec-

essarily protective assertions with the claim that "we believe the date we are providing can be

acted on in nearly all circumstances," a claim which is impossible for either the public or the

local officials to test at the front-end given the data blackout.

    19. By its very design, the entire arrangement outlined above, and its carefully rehearsed

roll-out by two of the State's top officials, has led to their control of the public posturing and

messaging of the effort. It is designed to cast a pall of suspicion over the validity of local reg-

istration rolls. It is designed to pressure local officials, forced to operate in the dark as far as

data is concerned yet threatened with attacks for not acting according to the wishes of the

SOS and the AG, into setting in motion coercive efforts to force voters on the "match" list to

prove they are validly registered to votewhile the broad swath of voters are left alone and

undisturbed. The inevitable   effectand no doubt the intended effect, though       intent is not re-

quiredis to intimidate    voters in the state who are more likely to be swept up, or fear being

swept up, in an election-related "witch hunt."




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    20. Registered voters who are citizens and appropriately registered to, and eligible to,

vote in the upcoming election are part of the target of the scheme by the SOS and AG. Espe-

cially in the current atmosphere of broad and highly-publicized anti-immigrant and anti-

Latino publicity and policy efforts, the adverse impact of the SOS and AG's orchestrated ef-

fort falls particularly heavily on the Latino community. Members of that community who are

properly and legally registered are already reacting to the publicity campaign attending the

roll-out of Advisory No. 20 19-02 by contacting local voter registrars and election administra-

tors and asking to have their names removed from the voting rolls. In short, the SOS and AG

have already successfully used Advisory No. 20 19-02 and all the publicity they ensured

would come with its issuance to intimidate voters in the upcoming May election into with-

drawing from the election system by withdrawing their voter registrations.

    21. LULAC and Texas LULAC are organizations whose very purpose is to step in as

voluntary associations in these situations to seek protection of the rights of the voters   dis-


cussed in ¶ 20, above. The very intimidation that threatens them as voters who would be reg-

istered for the May election threatens them insofar as they might come forward into federal

court as individuals trying to protect their rights from the onslaught of the SOS and AG. Fur-

ther, the impact of the voter intimidation effort is and will be felt in concrete ways in local

counties across the entire State. The impact in Bexar County and the other large counties in

Texas, is and will be particularly acute and substantial. Bexar County has one of the largest

Latino voting communities in the State. It is a target of the SOS and AG effort at open intim-

idation.

    22. Federal statutory law provides specific protection against the combined effort of the

SOS and AG. Specifically, Section 11(b) of the Voting Rights Act prohibits the SOS and
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AG's combined action working through Advisory No. 20 19-02, the data blackout imposed in

conjunction with it, and the SOS and AG publicity campaign taking advantage of the adviso-

ry and data blackout to further their intimidation efforts. That statute provides:

    No person, whether acting under color of law or otherwise, shall intimidate, threaten,
    or coerce, or attempt to intimidate, threaten, or coerce any person for voting or at-
    tempting to vote, or intimidate, threaten, or coerce, or attempt to intimidate, threaten,
    or coerce any person for urging or aiding any person to vote or attempt to vote, or in-
    timidate, threaten, or coerce any person for exercising any powers or duties under
    section 10302(a), 10305, 10306, or 10308(e) of this title or section 1973d or 1973g
    of title 42.

52 U.S.C.   §   10307(b).

    23. Participating in elections, including by registering to vote, is a core First Amend-

ment value furthered by Section 11(b). The provision requires no showing of subjective in-

tent to intimidate, only an objective basis for finding such intimidation present. Subtle and

cynical intimidation is forbidden by Section 11(b), which in light of its remedial and protec-

tive purposes is to be given an expansive interpretation. Intimidating, threatening, or coercing

any person from registering to vote equates to intimidating, threatening, or coercing such per-

son from voting at all. The SOS and AG's manipulative use of the advisory, the data black-

out, and coercive use of local election officials as human shields against the charges legiti-

mately leveled at the two state officials themselves is a violation of Section 11(b). It should

be invalidated, and the officials should be enjoined from continuing with the manipulative

program and from engaging in any such program in the future.

Legal Claim     52 U.S.C.   § 10307

    24. Paragraphs 1-23 are incorporated for all purposes.

    25. Defendants Whitley and Paxton have violated, and continue to violate, 52 U.S.C.         §

10307 in pursuing the program set in public motion by SOS Advisory No. 20 19-02.
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Prayer for Relief
    26. Based upon the foregoing matters, Plaintiffs respectfully request that this Court grant

them the following relief:

    a.    assume jurisdiction over this action;

    b.    declare the actions of the Texas Secretary of State and the Texas Attorney General that
          are complained of herein to be in violation of 52 U.S.C. § 10307(b);

    c.    issue a preliminary and permanent injunction, barring the Texas Secretary of State and
          the Texas Attorney General from further actions in connection with pursuit of the pro-
          gram outlined in SOS Advisory No. 20 19-02; and

    d.    grant Plaintiffs such other and further relief as may be necessary, appropriate, and equi-
          table.


                                                       Respectfully submitted,

                                                       _/s/ Luis   R. Vera,
                                                       LUIS ROBERTO VE , JR.
                                                                              Jr.4
                                                       LULAC National General Counsel
                                                       Law Offices of Luis Roberto Vera, Jr.
                                                        & Assoc
                                                       1325 Riverview Towers
                                                        111 Soledad
                                                       San Antonio, TX 78205-2260
                                                       (210) 225-3300
                                                       lrvlawsbcg1obal.net

                                                       Counsel for LULAC Plaintiffs




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                                     The    State of    Texas


Elections Division                                      /                             Phone: 512-463-5650
P.O. Box 12060                                                                          Fax: 512-475-2811
Austin, Texas 78711-2060                                                     Dial 7-1-1 For Relay Services
www.sos.state.tx.us                                                               (800) 252-VOTE (8683)
                                          David Whitley
                                         Secretary of State


                                     ELECTION ADVISORY
                                            No. 2019-02

TO:               Voter Registrars/Elections Administrators

FROM:             Keith Ingram, Director of Elections

DATE:             January 25, 2019

RE:              Use of Non-U.S. Citizen Data obtained from the Department of Public Safety


Pursuant to Section 730.005, Transportation Code, personal information obtained by the
Department of Public Safety (DPS) in connection with a motor vehicle record shall be disclosed
and used for any matter of voter registration or the administration of elections by the secretary of
state. The secretary of state has been working with DPS to obtain and use information regarding
individuals who provided documentation to DPS showing that the person is not a citizen of the
United States during the process of obtaining or acquiring a Texas Driver License or Personal
Identification Card from DPS. The initial set of information provided by DPS is being compared
to the voter registration rolls, and we are providing information relating to matches out to counties
beginning tomorrow.

Background: Beginning in early March 2018, our office began working with DPS to review and
refine the data able to be provided by DPS for use in this list maintenance process. The goal was
to produce actionable information voter registrars could use to assist in their list maintenance
responsibilities. In keeping with general guidelines set out under Section 18.0681, Election Code,
our office sought to create the strongest matching criteria that produces the least possible impact
on eligible Texas voters while fulfilling the responsibility to manage the voter rolls. To that end,
our office and DPS spent time evaluating the data and refining the query to limit the information
being provided to us for use in this list maintenance exercise to individuals who provided valid
documents indicating the person is not a citizen of the United States at the time the person obtained
a Driver License or Personal Identification Card. It is important to note that we are not using
information self-reported by the person regarding their citizenship status; rather, we are using
documents provided by the person to show they are lawfully present in the United States. As part
of the processing for issuing a card, these documents would have been validated by DPS against
the Systematic Alien Verification for Entitlements (SAVE) Database, which is administered by
the U.S. Citizenship and Immigration Services, a component of the Department of Homeland




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Security. Once a person's document is validated through SAVE and a card is issued, then the
individual's information will be provided to our office in the next data file to be supplied. Our
office has obtained the preliminary data file for all current (unexpired) Driver License and Personal
Identification cards that meet this criteria, and we will run that set of information tomorrow
evening. After that initial data set has been run, DPS will provide information to our office on a
monthly basis of individuals obtaining a Driver License of Personal Identification card since the
last data file has been provided. We will run those as they are received by our office.

There is likely to be a law enforcement interest in the data that we are providing to you. If you
receive any requests from the public for the information, please contact your local prosecutor and
the attorney general, who have jurisdiction over such matters.

Impact of Data being obtained: It should be noted that the additional source of data being
obtained from DPS does not change or modify the voter registrar's rights or responsibilities under
Section 16.033, Election Code. The voter registrar has the right to use any lawful means to
investigate whether a registered voter is currently eligible for registration in the county. This
section does not authorize an investigation of eligibility that is based solely on residence. If the
registrar has reason to believe that a voter is no longer eligible for registration, the registrar shall
deliver written notice to the voter indicating that the voter's registration status is being investigated
by the registrar. The notice shall be delivered by forwardable mail to the mailing address on the
voter's registration application and to any new address of the voter known to the registrar. If the
secretary of state has adopted or recommended a form for a written notice, the registrar must use
that form. The obtaining of information from DPS and providing matching data to the voter
registrar merely expands the resources available to the registrar for use in list maintenance. The
registrar, ultimately, is responsible for determining whether or not the information provides the
registrar with reason to believe the person is no longer eligible for registration. If the registrar
determines this standard has been met, the registrar should send a Notice of Examination for
Citizenship (Proof of Citizenship) Letter.

Matching Information: This DPS non-U.S. Citizen data is matched against the TEAM system,
and information will be provided to counties if/when a match is identified between the DPS data
and a registered voter in the county. Records are identified as Possible Non U.S. Citizens when
one of the following combinations matches between a voter record and the DPS data:
          Last Name (including Former Last Name on the Voter Record), First Name, and Full
          Social Security Number (S SN) (9 digits);
          Last Name (including Former Last Name on the Voter Record), First Name, and Texas
          Department of Public Safety (DPS)-Issued Driver License, Personal Identification Card,
          or Election Identification Certificate Number; or
          Last Name (including Former Last Name on the Voter Record), First Name, Last Four
          Digits of the SSN, and Date of Birth.

These are some of the strongest possible matching criteria used in TEAM and are the current
matching criteria used when determining whether or not to transfer a voter to an Offline County
when the Offline County submits a new registration application. A match to a new voter
registration application submitted by an Offline County to an existing voter using the above listed
criteria will result in the transfer of the voter record. The point of this is to emphasize that our
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goal was to produce actionable information for voter registrars while producing the least possible
impact on eligible voters, meaning we believe the data we are providing can be acted on in nearly
all circumstances.

All records submitted through this process will need to be treated as WEAK matches, meaning
that the county may choose to investigate the voter, pursuant to Section 16.033, Election Code, or
take no action on the voter record if the voter registrar determines that there is no reason to believe
the voter is ineligible. The county may not cancel a voter based on the information provided
without first sending a Notice of Examination (Proof of Citizenship Letter) and following the
process outlined in the letter. In order to help counties make a determination regarding whether
or not to send a Notice of Examination or close the task without taking further action, information
provided by DPS will be provided to each county for further review and comparison against the
voter record.

Workflow for Possible Non-U.S. Citizen Investigation: Again, counties are not permitted, under
current Texas law, to immediately cancel the voter as a result of any non-U.S. Citizen matching
information provided. This is applicable to notifications received from jury summons responses,
as well as the dataset discussed in this advisory: possible non-U.S. Citizen notifications coming
from DPS.

        For matching notifications coming from Jury Summons response devices, the county must
        send the voter a Proof of Citizenship Letter (Notice of Examination).
        For the matching notifications originating from DPS data, the county user has the choice
        to either:
        1. Send a Proof of Citizenship Letter (Notice of Examination) to the voter; thereby starting
            the 30-day countdown clock before cancellation, or
        2. Take no action on the voter record and simply close the task as RESOLVED.

A voter may only be cancelled based on possible non-U.S. Citizen matching information if a Proof
of Citizenship Letter (Notice of Examination) was sent to the voter     j:
    1. The voter responded to the Notice in under 30 days indicating the voter is not in fact a U.S.
        Citizen (you would cancel for not being a citizen Cancel Reason: Non U.S. Citizen);
    2. The voter failed to respond to the Notice within 30 days and is being cancelled for failure
        to respond to the notice (Cancel Reason: Failure to respond to Notice of Investigation); or
    3. The notice was mailed and returned as undeliverable to the registrar with no forwarding
        information available (Cancel Reason: Failure to respond to Notice of Investigation).

To aid in this process, new Dashboard options will be available within the Possible Non U.S.
Citizen Dashboard task and a new Event Type has been developed for Offline counties. We are
not able to leverage the current Non U.S. Citizen Notification task, which is currently created when
a match identifies a voter having responded to a jury summons that he/she is not a United States
citizen. We cannot use the current Dashboard line item task/event type because counties are
required (by current law) to investigate those records identified as a response to the jury summons
response device under the current process. Counties are not, however, required (by current law)
to investigate the new DPS data matches if they do not believe that a voter is ineligible to vote.
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However, our office will provide the data obtained from DPS in order to allow counties all the
information necessary to make the determination regarding whether or not to investigate the voter.

Response needed from the voter: Once a Notice of Examination for Citizenship (Proof of
Citizenship) Letter has been issued to a voter, the voter is required to provide proof of citizenship
as outlined under Section 16.0332, Election Code. This includes:
        A certified copy of the voter's birth certificate,
        United States passport, or
        Certificate of naturalization

A copy of one of these documents (including a copy of the passport) being returned to the registrar
is sufficient to meet the proof requirement. The registrar is required to retain a copy of the notice
mailed and any proof of citizenship received by the voter. If the voter comes in person and
provides proof, then the registrar should make a copy of the document provided and retain it, along
with a copy of the notice that was mailed, with the application file for the voter.

For more information, please contact the Elections Division at 1 -800-252-VOTE(8683).

KI:BS
